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 1                            UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3
      UNITED STATES OF AMERICA,                       )   2:10-cr-284-RLH-PAL-4
 4                                                    )
                      Plaintiff,                      )
 5                                                    )
                      vs.                             )   DISCOVERY ORDER
 6                                                    )
      PATRICIA BASCOM,                                )
 7                                                    )
                      Defendant.                      )
 8                                                    )

 9            Defendant is HEREBY ORDERED to produce to the government no later than Monday,

10    January 17, 2012, the following documents and materials:

11    •       communications in whatever form between Ms. Bascom and court staff or judicial

12            personnel, including without limitation, the letter sent to Judge Leen by Ms. Bascom;

13    •       the police report wherein Ms. Bascom reported alleged threats;

14    •       the audio recording of an alleged conversation between Ms. Bascom and Michael Cristalli;

15    •       all communications reduced to writing or recording between Ms. Bascom or her agents

16            and any of her former attorneys, including Messrs. Yampolsky (to the extent he was ever

17            her attorney), Cristalli, and Whipple, or any of their agents (including staff and other

18            attorneys with which Messrs. Yampolsky, Cristalli, and Whipple were associated). This

19            includes, without limitation, all notes, letters, and emails that fall within the above

20            description.

21            IT IS FURTHER ORDERED that the government shall not disclose to any third party

22    copies of communications between Ms. Bascom and her attorneys, except that they may be

23    disclosed to law enforcement, other prosecutors, government staff, the attorneys that were party to

24    the communications, and in filings before this Court.

25            DATED this 11th day of January, 2012.

26
                                                  UNITED STATES DISTRICT JUDGE
